                         No. 22-1864

     In the United States Court of Appeals
             for the Third Circuit

            Consumer Financial Protection Bureau,
                        Plaintiff-Appellee,
                                 v.
      National Collegiate Master Student Loan Trust, et al.,
                     Defendants-Appellants.


On Appeal from the United States District Court for the District of
                  Delaware, No. 1:17-cv-1323
                    Hon. Stephanos Bibas


 AMICUS CURIAE BRIEF OF SEPARATION OF POWERS
       CLINIC IN SUPPORT OF APPELLANTS


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                 INTEREST OF THE AMICUS CURIAE1

      The Separation of Powers Clinic at the Gray Center for the Study

of the Administrative State, located within the Antonin Scalia Law

School at George Mason University, was established during the 2021-22

academic year for the purpose of studying, researching, and raising

awareness of the proper application of the U.S. Constitution’s separation

of powers constraints on the exercise of federal government power. The

Clinic provides students an opportunity to discuss, research, and write

about separation of powers issues in ongoing litigation.

      The Clinic has submitted numerous briefs at the Supreme Court

and lower courts in cases implicating separation of powers, including

litigation challenging action by agencies with supervisory officials subject

to removal protections that undermine presidential oversight of the

executive branch. See, e.g., Amicus Curiae Br. of Separation of Powers

Clinic, Calcutt v. FDIC, No. 20-4303 (6th Cir. Aug. 1, 2022). Appellants’

case is important to amicus because it addresses the proper remedies for



1No counsel for any party has authored this brief in whole or in part, and no entity
or person, aside from amicus curiae and its counsel, made any monetary contribution
intended to fund the preparation or submission of this brief. Appellants consented to
this brief, but Appellee Consumer Financial Protection Bureau refused to provide
consent. Amicus accordingly has filed a motion for leave to file this brief.


                                         1
removal protection violations. In particular, amicus contends that the

District Court did not adequately address the important fact that this

case arose as an enforcement action within an agency whose head is not

subject to at-will removal by the President. Amicus also has an interest

in the separation of powers implications of the District Court’s

determination that to receive a remedy, litigants must conclusively show

a challenged agency action “would not have been taken but for the

President’s inability to remove the agency head.” This determination is

inconsistent with the Supreme Court’s decision in Collins v. Yellen, 141

S. Ct. 1761 (2021), and will strongly disincentivize future challenges to

unconstitutional removal protections.

                  SUMMARY OF THE ARGUMENT

     Separation of powers is “aimed at more than an abstract division of

labor between the branches of government: The structural principles

secured by the separation of powers protect the individual as well.” Cirko

ex rel. Cirko v. Comm’r of Soc. Sec., 948 F.3d 148, 156 (3d Cir. 2020)

(internal quotation marks omitted). This Court should reject the District

Court’s stringent test for obtaining judicial relief where an enforcement

action   was   initiated   by   an   agency   led   by   an   official   with



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unconstitutionally constraining removal protections. A contrary ruling

would disincentivize parties from raising such challenges and leave

unconstitutional   removal      schemes   to   fester,   with   longstanding

detrimental consequences for the balance of power among Congress, the

judiciary, and the executive.

                                ARGUMENT

     Relying on an overreading of Collins, the District Court held that a

party subject to an enforcement action initiated under the supervision of

an agency head with unconstitutional tenure protections could obtain

judicial relief only where the challenger conclusively shows that “the

agency action would not have been taken but for the President’s inability

to remove the agency head.” JA5–6.

     The District Court’s test disregards several key aspects in which

this case differs from Collins; see Part I, infra; is in tension with Collins

itself, see Part II, infra; and will disincentivize challenges to

unconstitutional removal regimes, see Part III, infra.

I.   The District Court Disregarded Several Key Distinctions
     Between this Case and Collins.

      When addressing remedies, the District Court relied extensively on

the Supreme Court’s opinion in Collins but failed to give adequate weight


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to several key distinctions between that case and this litigation. Most

notably, unlike this case, Collins was not a direct enforcement action

filed in federal court by the government but instead was a suit initiated

by private parties collaterally attacking a previously negotiated

settlement. See Part I.A, infra. Second, Collins involved the mere

continuation of agency conduct that had been initiated when the agency

head was subject to at-will presidential removal, whereas this case

involves agency action initiated when the agency head was not subject to

the constitutional accountability mechanism of at-will removal.

     The filing and initiation of enforcement matters are critical

executive actions that must be subject to constitutional accountability

constraints. The supervisory structure impacting the agency head at the

time of these key actions has constitutionally significant import. The

absence of presidential oversight here, at core significant phases of the

challenged action, generates a much closer nexus between that action

and the unconstitutional agency structure, making the requiring

remedial showings in Collins not directly on point in this case.

Presidential oversight is critical as a constitutional matter, for the proper

and lawful exercise of government authority. The complete absence of



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such oversight here makes Collins a poor fit for addressing the proper

remedy in this case.

      A.   Unlike in Collins, the Government Here Filed a Direct
           Enforcement Action in Federal Court Seeking
           Significant Penalties.

      The Supreme Court has long indicated that Article II’s requirement

of presidential supervision is at its zenith when executive officers

exercise quintessential executive powers, and “seek[ing] daunting

monetary penalties against private parties on behalf of the United States

in federal court” is one such “quintessentially executive power.” Seila

Law LLC v. CFPB, 140 S. Ct. 2183, 2200 (2020); see Buckley v. Valeo, 424

U.S. 1, 138 (1976) (“A lawsuit is the ultimate remedy for a breach of the

law, and it is to the President … that the Constitution entrusts th[is]

responsibility.”).

      In Collins, no enforcement action was at issue, let alone one filed

by the government in federal court. Rather, the private parties there

initiated a suit against the government, seeking an injunction requiring

the Treasury to return certain payments that had been made pursuant

to a negotiated agreement between the Treasury and mortgage financers

Fannie Mae and Freddie Mac. 141 S. Ct. at 1770, 1775. Collins, in other



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words, was initiated by a private party launching what amounted to a

collateral attack on a completed government settlement, eliminating the

constitutional urgency of structurally sound removal protections that is

in play when an agency makes the significant and weighty determination

to bring the force of the federal government to bear against a regulated

private party in an enforcement action.

     In contrast, in the case sub judice, the government seeks

substantial penalties from Appellants in an enforcement action filed “in

federal court.” Seila Law, 140 S. Ct. at 2200. The Supreme Court has

characterized    such   enforcement     action    as   the   exercise    of

“quintessentially executive power.” See id. Such actions, therefore, are

those over which presidential accountability is critical. The likelihood of

harm to a party subjected to such actions by an agency that was not fully

accountable to the President is significant. See id.

     The inapplicability of the initiation of enforcement action in Collins

makes that case a poor fit for determining the remedy for a removal

protection violation in cases like this litigation or Seila Law, where the

CFPB brought an affirmative enforcement suit in federal court. In fact,

because the CFPB here seeks substantial monetary penalties, this case



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involves an even clearer example of quintessential executive power (and

thus the importance of presidential oversight) than Seila Law itself,

where the CFPB sought only injunctive relief. See 140 S. Ct. at 2194.

     B.    Unlike Collins, this Case Involves the Initiation of
           Action by an Agency Led by an Official with Improper
           Removal Protections.

     Another key distinction between this case and Collins, with

important ramifications for removal-protection violations, is that the

agency action taken here was initiated by an agency whose head enjoyed

improper removal protections at the time, whereas the challenged

actions in Collins involved only the continuation of such actions because

the initiation had occurred when the agency head was removable at-will.

141 S. Ct. at 1787–88.

     An agency’s discretion and determination to initiate executive

action involves quintessential executive power where accountability to

the President is paramount. See TransUnion LLC v. Ramirez, 141 S. Ct.

2190, 2207 (2021) (“[T]he choice of how to prioritize and how aggressively

to pursue legal actions against defendants who violate the law falls

within the discretion of the Executive Branch.”).




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     Given the importance of presidential oversight in the context of

affirmatively initiating agency action, it is unsurprising that Collins

itself seems to have drawn a distinction between officials who had taken

a first-hand role in “adopt[ing]” the challenged action, and those

subsequent officials who merely “supervised the implementation” of the

challenged action. 141 S. Ct. at 1787, 1789 (emphasis in original).

Although Collins did not elaborate on this possible distinction, removal

protections may more likely influence agency determinations that

involve the initiation of new enforcement actions. The agency head at the

time an action is initiated is clearly identifiable as the person responsible

for setting in motion the subsequent chain of events—and accordingly

the person most obviously bearing a share of responsibility if the

President is displeased with those actions.

     Appellants argued below that Collins “is distinguishable because

there the agency action was initiated by an acting director who was

removable at will by the President” and “only later was it implemented

by his improperly insulated successors.” JA16–17 (emphases in original)

(internal quotation marks omitted). In response, the District Court

analogized Collins to this case, contending that in both, “the harm caused



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by the agency action ‘continued … under a succession of improperly

insulated Directors,’” but there was “‘no reason to regard any of their

actions as void’” “because all the directors ‘were properly appointed.’” Id.

(quoting Collins, 141 S. Ct. at 1787).

     The District Court’s analysis erred in several respects. First, by

relying on the continuation of the enforcement action, the District Court

disregarded Appellants’ fundamental point that the initiation of the

enforcement action by an agency led by an officer with unconstitutional

removal protections is different than the mere continuation of such

action. The District Court seemed to believe that merely continuing

agency action is sufficient to deny relief, regardless of whether that

action had been initiated when the agency was led by an official with

improper removal protections.

     Second, the question here is the remedy for removal protection

violations, not for Appointments Clause violations. It is undisputed that

the CFPB Directors at the relevant times were all properly appointed,

and, under Collins, their acts are thus not inherently void, but some acts

in particular instances might be void. See 141 S. Ct. at 1789. That is

precisely what Appellants contend here. But the District Court seemed



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to interpret Collins’ rejection of across-the-board invalidation of all

agency actions as a basis to reject Appellants’ more limited argument

based on the particular action at issue here. That is contrary to Collins

itself.

                                  ***

      These key distinctions between Collins and this case appear to

explain why Justices Thomas and Gorsuch agreed on the proper remedy

in Seila Law but then disagreed in Collins. In Seila Law, they argued

that a court “[p]resented with an enforcement request from an

unconstitutionally insulated Director” should “simply deny the CFPB’s

petition for an order of enforcement.” 140 S. Ct. at 2220 (Thomas, J.,

concurring in part and dissenting in part). But in Collins, Justice

Thomas argued the plaintiffs would be “entitled to a remedy” only if they

could “demonstrate that any relevant action by [the officials with

removal protections] violated the Constitution.” 141 S. Ct. at 1795

(Thomas, J., concurring). Otherwise, he was “reluctant to create a new

restriction on a coequal branch and enforce it through a new private right

of action.” Id. at 1794. Justice Gorsuch, by contrast, argued that the

proper remedy would be to “set aside” the official’s actions because they



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were taken “by someone erroneously claiming the mantle of executive

power—and thus taken with no authority at all.” Id. at 1795 (Gorsuch,

J., concurring in part).

      One likely explanation for this divergence is that Seila Law

involved an affirmative enforcement suit brought in federal court by the

government and initiated by an agency headed by an official with

improper removal protections, whereas Collins involved none of those

things. Thus, the Seila Law solution of simply denying the government’s

enforcement request was thus unavailable in Collins.

      The limited nature of Collins provides further confirmation that

the District Court erred by insisting that Collins’ discussion of remedy

controlled the significantly different scenario presented here.

II.   The District Court’s Interpretation               of   Collins    Is
      Inconsistent with Collins Itself.

      Even if the Collins determination on remedial relief applies here,

the District Court’s test for demonstrating entitlement to relief is

inconsistent with Collins itself.

      The majority opinion in Collins provided several theoretical

examples where a party might definitively demonstrate harm from an

improper removal restriction, none of which existed in that litigation. 141


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S. Ct. at 1789. But the Court in Collins also ultimately remanded the case

to the Fifth Circuit on the ground that it was necessary for the Fifth

Circuit to evaluate whether there was nonetheless sufficient evidence of

harm, as “the possibility that the unconstitutional restriction on the

President’s power to remove a Director of the FHFA could have such an

effect [of inflicting compensable harm] cannot be ruled out.” Id. If

conclusive evidence of prejudice were required, Collins would have ended

without remand because the challengers had provided only sparse

evidence of prejudice. The Supreme Court’s decision to remand indicates

that the District Court’s understanding of appropriate relief under

Collins is too circumscribed. The District Court erred by not providing for

the possibility that evidence of harm might be sufficient to make an

adequate showing of the risk of harm from agency action outside the

bounds of proper structural constitutional accountability.

     The District Court’s error was material here because Appellants

have cited considerable evidence that the President was displeased with

the CFPB Director and desired to remove him but felt constrained by the

statutory for-cause removal provision. See Appellants’ Brief 61–62. That

evidence appears to be sufficient under Collins would consider sufficient



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to demonstrate entitlement to judicial relief, but at the very least a

remand to the District Court would be appropriate so it could consider

this evidence.

III. The District Court’s Test Will Disincentivize Removal
     Protection Challenges.

     By requiring a strict “but for” test, the District Court lost sight of

the Supreme Court’s oft-stated goal of “creat[ing] incentives to raise”

challenges to unconstitutional provisions. Lucia v. SEC, 138 S. Ct. 2044,

2055 n.5 (2018); see Freytag v. Comm’r of Internal Revenue, 501 U.S. 868,

879 (1991).

     When relief is effectively foreclosed by an evidentiary threshold

rarely satisfied, parties will presumably stop bringing such challenges.

The effects of this stagnation of law will extend far beyond any single

dispute. Secure in the knowledge that removal protections are essentially

unchallengeable, officers will be even less accountable to the President.

Further, Congress may even be emboldened to create more such

provisions across the bureaucracy.

     The District Court’s test is so improperly stringent here that it is

unclear whether even parties seeking prospective relief could satisfy it,

as challengers would have to make predictions and guesswork about how


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the agency or President would act in a counterfactual future timeline.

Such a threshold is inconsistent with the historic availability of

injunctive relief against ongoing constitutional violations. See, e.g.,

Armstrong v. Exceptional Child Ctr., Inc., 575 U.S. 320, 327 (2015). This

“negative injunction remedy” is a “‘standard tool of equity’ that federal

courts have authority to entertain under their traditional equitable

jurisdiction,” Whole Woman’s Health v. Jackson, 142 S. Ct. 522, 540

(2021) (Thomas, J., concurring in part), which dates back to the Judiciary

Act of 1789, see § 11, 1 Stat. 78, and even earlier in England, see

Armstrong, 575 U.S. at 327.

     The dramatic consequences of the District Court’s interpretation of

Collins are a strong indication that interpretation is incorrect.

                              CONCLUSION

     This Court should reverse the District Court’s order denying

Appellants’ motion to dismiss, and remand with instructions to dismiss

this case.

October 3, 2022                          Respectfully submitted,


                                         /s/ R. Trent McCotter
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         I certify that this brief complies with the typeface requirements of

Rule 32(a)(5) and the typestyle requirements of Rule 32(a)(6) because this

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spaced typeface, using Microsoft Word. Fed. R. App. P. 29(a), 32(g)(1).

         This brief complies with the type-volume limitation of Rule 29(a)(5)

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                             /s/ R. Trent McCotter




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     I hereby certify that on October 3, 2022, an electronic copy of the

foregoing brief was filed with the Clerk of Court for the United States

Court of Appeals for the Third Circuit using the appellate CM/EFC filing

system and that service will be accomplished using the appellate

CM/ECF system.

                         /s/ R. Trent McCotter




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